                                                   Case 2:11-cv-00465-JAT Document 1 Filed 03/10/11 Page 1 of 8



                                         David J. McGlothlin, Esq. (SBN: 026059)
                                     1
                                         david@southwestlitigation.com
                                     2   Hyde & Swigart
                                         5343 N. 16th Street, Suite 460
                                     3
                                         Phoenix, AZ 85016
                                     4   (602) 265-3332
                                         (602) 230-4482
                                     5
                                     6   Attorneys for Plaintiff
                                         Christopher Code
                                     7
                                     8
                                     9
                                    10                           UNITED STATES DISTRICT COURT
                                    11                               DISTRICT OF ARIZONA
                                    12
HYDE & SWIGART




                                              Christopher Code                                   Case No: ________________
                                    13
                 Phoenix, Arizona




                                    14                             Plaintiff,                    Complaint For Damages
                                              v.
                                    15                                                           Jury Trial Demanded
                                    16        GC Services Limited Partnership

                                    17                             Defendant.
                                    18
                                    19
                                    20                                            INTRODUCTION
                                    21   1.        The United States Congress has found abundant evidence of the use of
                                    22             abusive, deceptive, and unfair debt collection practices by many debt
                                    23             collectors, and has determined that abusive debt collection practices
                                    24             contribute to the number of personal bankruptcies, to marital instability, to the
                                    25             loss of jobs, and to invasions of individual privacy. Congress wrote the Fair
                                    26             Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter
                                    27             “FDCPA”), to eliminate abusive debt collection practices by debt collectors,
                                    28             to insure that those debt collectors who refrain from using abusive debt

                                          ______________________________________________________________________________________________________
                                                                                         - 1 of 8 -
                                                Case 2:11-cv-00465-JAT Document 1 Filed 03/10/11 Page 2 of 8



                                     1         collection practices are not competitively disadvantaged, and to promote
                                     2         consistent State action to protect consumers against debt collection abuses.
                                     3   2.    Christopher Code, (Plaintiff), through Plaintiff's attorneys, brings this action
                                     4         to challenge the actions of GC Services Limited Partnership, (“Defendant”),
                                     5         with regard to attempts by Defendant to unlawfully and abusively collect a
                                     6         debt allegedly owed by Plaintiff, and this conduct caused Plaintiff damages.
                                     7   3.    Plaintiff makes these allegations on information and belief, with the exception
                                     8         of those allegations that pertain to a plaintiff, or to a plaintiff's counsel, which
                                     9         Plaintiff alleges on personal knowledge.
                                    10   4.    While many violations are described below with specificity, this Complaint
                                    11         alleges violations of the statutes cited in their entirety.
                                    12   5.    Unless otherwise stated, all the conduct engaged in by Defendant took place
HYDE & SWIGART




                                    13         in Arizona.
                 Phoenix, Arizona




                                    14   6.    Any violations by Defendant were knowing, willful, and intentional, and
                                    15         Defendant did not maintain procedures reasonably adapted to avoid any such
                                    16         violation.
                                    17                                     JURISDICTION AND VENUE
                                    18   7.    Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331, 15 U.S.C. §
                                    19         1692(k), and 28 U.S.C. § 1367 for supplemental state claims.
                                    20   8.    This action arises out of Defendant's violations of the Fair Debt Collection
                                    21         Practices Act, 15 U.S.C. §§ 1692 et seq. (“FDCPA”).
                                    22   9.    Because Defendant does business within the State of Arizona, personal
                                    23         jurisdiction is established.
                                    24   10.   Venue is proper pursuant to 28 U.S.C. § 1391.
                                    25   11.   At all times relevant, Defendant conducted business within the State of
                                    26         Arizona.
                                    27
                                    28

                                          ______________________________________________________________________________________________________
                                                                                         - 2 of 8 -
                                                Case 2:11-cv-00465-JAT Document 1 Filed 03/10/11 Page 3 of 8



                                     1                                                 PARTIES
                                     2   12.   Plaintiff is a natural person who resides in the City of Phoenix, State of
                                     3         Arizona.
                                     4   13.   Defendant is located in the City of Houston, in the State of Texas.
                                     5   14.   Plaintiff is obligated or allegedly obligated to pay a debt, and is a “consumer”
                                     6         as that term is defined by 15 U.S.C. § 1692a(3).
                                     7   15.   Defendant is a person who uses an instrumentality of interstate commerce or
                                     8         the mails in a business the principal purpose of which is the collection of
                                     9         debts, or who regularly collects or attempts to collect, directly or indirectly,
                                    10         debts owed or due or asserted to be owed or due another and is therefore a
                                    11         debt collector as that phrase is defined by 15 U.S.C. § 1692a(6).
                                    12                                       FACTUAL ALLEGATIONS
HYDE & SWIGART




                                    13   16.   Sometime before January 31, 2011, Plaintiff is alleged to have incurred
                 Phoenix, Arizona




                                    14         certain financial obligations.
                                    15   17.   These financial obligations were primarily for personal, family or household
                                    16         purposes and are therefore a “debt” as that term is defined by 15 U.S.C.
                                    17         §1692a(5).
                                    18   18.   Sometime thereafter, but before January 31, 2011, Plaintiff allegedly fell
                                    19         behind in the payments allegedly owed on the alleged debt. Plaintiff currently
                                    20         takes no position as to the validity of this alleged debt.
                                    21   19.   Subsequently, but before January 31, 2011, the alleged debt was assigned,
                                    22         placed, or otherwise transferred, to Defendant for collection.
                                    23   20.   On or about January 31, 2011, Defendant sent Plaintiff a letter and demanded
                                    24         payment of the alleged debt.
                                    25   21.   This communication to Plaintiff was a “communication” as that term is
                                    26         defined by 15 U.S.C. § 1692a(2), and an “initial communication” consistent
                                    27         with 15 U.S.C. § 1692g(a).
                                    28

                                          ______________________________________________________________________________________________________
                                                                                         - 3 of 8 -
                                                Case 2:11-cv-00465-JAT Document 1 Filed 03/10/11 Page 4 of 8



                                     1   22.   On or about February 2, 2011, Defendant called Plaintiff’s place of
                                     2         employment in an attempt to collect the alleged debt from Plaintiff.
                                     3   23.   Defendant placed this call to Plaintiff’s supervisor, “Carlos”, a third party, as
                                     4         that phrase is anticipated by 15 U.S.C. §1692c(b).
                                     5   24.   During this conversation with Carlos, Defendant stated they were in the
                                     6         process of “filing paperwork to start garnishing wages on Mr. Christopher
                                     7         Code.” Carlos then gave Defendant the contact information for HUman
                                     8         resources. After this, Defendant then requested that Carlos give Mr. Code the
                                     9         message that he called, including his name, company, phone number,
                                    10         extension, and a “file number.”
                                    11   25.   This conversation was a “communication” as 15 U.S.C. §1692a(2) defines
                                    12         that term. This communication to a third party was without prior consent, or
HYDE & SWIGART




                                    13         the express permission of a court of competent jurisdiction, or as reasonably
                 Phoenix, Arizona




                                    14         necessary to effectuate a post judgment judicial remedy, and was in
                                    15         connection with the collection of the alleged debt, and with a person other
                                    16         than Plaintiff, Plaintiff's attorney, a consumer reporting agency, the creditor,
                                    17         the attorney of the creditor, or the attorney of the debt collector.                        This
                                    18         communication to this third party was not provided for in 15 U.S.C. § 1692b.
                                    19         By making said communication to a third party, Defendant violated 15 U.S.C.
                                    20         § 1692c(b).
                                    21   26.   Defendant communicated with a person other than the consumer for the
                                    22         purported purpose of acquiring location information and stated that the
                                    23         consumer owed a debt.               Consequently, Defendant violated 15 U.S.C. §
                                    24         1692b(2).
                                    25   27.   Through this conduct, Defendant used a false, deceptive, or misleading
                                    26         representation or means in connection with the collection of a debt.
                                    27         Consequently, Defendant violated 15 U.S.C. § 1692e and 15 U.S.C. §
                                    28         1692e(10).

                                          ______________________________________________________________________________________________________
                                                                                         - 4 of 8 -
                                                Case 2:11-cv-00465-JAT Document 1 Filed 03/10/11 Page 5 of 8



                                     1   28.   Through this conduct, Defendant threatened to take action that cannot legally
                                     2         be taken or that is not intended to be taken. Consequently, Defendant violated
                                     3         15 U.S.C. § 1692e(5).
                                     4   29.   Through this conduct, Defendant engaged in conduct the natural consequence
                                     5         of which was to harass, oppress, or abuse a person in connection with the
                                     6         collection of a debt. Consequently, Defendant violated 15 U.S.C. § 1692d.
                                     7   30.   Through this conduct, Defendant used an unfair or unconscionable means to
                                     8         collect or attempt to collect any debt. Consequently, Defendant violated 15
                                     9         U.S.C. § 1692f.
                                    10   31.   Later that same day, Defendant then called another one of Plaintiff’s
                                    11         supervisors, “Brenda,” a third party, as that phrase is anticipated by 15 U.S.C.
                                    12         §1692c(b), in an attempt to collect an alleged debt.
HYDE & SWIGART




                                    13   32.   During this conversation, Defendant again stated he was “in the process of
                 Phoenix, Arizona




                                    14         starting a wage assignment on Chris.” Defendant also stated he “... would like
                                    15         Chris to call [him] and [they] may be able to work with him so that [they]
                                    16         won’t have to do that.
                                    17   33.   This conversation was a “communication” as 15 U.S.C. §1692a(2) defines
                                    18         that term. This communication to a third party was without prior consent, or
                                    19         the express permission of a court of competent jurisdiction, or as reasonably
                                    20         necessary to effectuate a post judgment judicial remedy, and was in
                                    21         connection with the collection of the alleged debt, and with a person other
                                    22         than Plaintiff, Plaintiff's attorney, a consumer reporting agency, the creditor,
                                    23         the attorney of the creditor, or the attorney of the debt collector.                        This
                                    24         communication to this third party was not provided for in 15 U.S.C. § 1692b.
                                    25         By making said communication to a third party, Defendant violated 15 U.S.C.
                                    26         § 1692c(b).
                                    27   34.   Defendant communicated with a person other than the consumer for the
                                    28         purported purpose of acquiring location information and stated that the

                                          ______________________________________________________________________________________________________
                                                                                         - 5 of 8 -
                                                Case 2:11-cv-00465-JAT Document 1 Filed 03/10/11 Page 6 of 8



                                     1         consumer owed a debt.               Consequently, Defendant violated 15 U.S.C. §
                                     2         1692b(2).
                                     3   35.   Through this conduct, Defendant used a false, deceptive, or misleading
                                     4         representation or means in connection with the collection of a debt.
                                     5         Consequently, Defendant violated 15 U.S.C. § 1692e and 15 U.S.C. §
                                     6         1692e(10).
                                     7   36.   Through this conduct, Defendant threatened to take action that cannot legally
                                     8         be taken or that is not intended to be taken. Consequently, Defendant violated
                                     9         15 U.S.C. § 1692e(5).
                                    10   37.   Through this conduct, Defendant engaged in conduct the natural consequence
                                    11         of which was to harass, oppress, or abuse a person in connection with the
                                    12         collection of a debt. Consequently, Defendant violated 15 U.S.C. § 1692d.
HYDE & SWIGART




                                    13   38.   Through this conduct, Defendant used an unfair or unconscionable means to
                 Phoenix, Arizona




                                    14         collect or attempt to collect any debt. Consequently, Defendant violated 15
                                    15         U.S.C. § 1692f.
                                    16   39.   On or about February 15, 2011, Defendant again called Plaintiff’s supervisor,
                                    17         Brenda, in an attempt to collect an alleged debt from Plaintiff.
                                    18   40.   During this conversation with Defendant, Plaintiff’s supervisor advised
                                    19         Defendant that Plaintiff's employer prohibited Plaintiff from receiving such
                                    20         communications at Plaintiff's place of employment in a manner consistent
                                    21         with 15 U.S.C. §1692c(a)(3), and also advised Defendant that calls at
                                    22         Plaintiff's place of employment was inconvenient, as prescribed in 15 U.S.C.
                                    23         §1692c(a)(1).
                                    24   41.   Through this conduct, Defendant communicated with a person other than the
                                    25         consumer for the purported purpose of acquiring location information and
                                    26         communicated with said person more than once without the request to do so
                                    27         by such person and without reasonably believing that the earlier response by
                                    28         said person was erroneous or incomplete and without reasonably believing

                                          ______________________________________________________________________________________________________
                                                                                         - 6 of 8 -
                                                Case 2:11-cv-00465-JAT Document 1 Filed 03/10/11 Page 7 of 8



                                     1         that such person now had correct or complete location information.
                                     2         Consequently, Defendant violated 15 U.S.C. § 1692b(3).
                                     3   42.   On or about February 22, 2011, Defendant again called Plaintiff’s place of
                                     4         employment in an attempt to collect the alleged debt from Plaintiff.
                                     5   43.   Because Defendant knew or had reason to know that the Plaintiff's employer
                                     6         prohibits Plaintiff from receiving such communications and that such calls
                                     7         were inconvenient, this action by Defendant violated 15 U.S.C. § 1692c(a)(1)
                                     8         and 15 U.S.C. § 1692c(a)(3), and because this action violated the language in
                                     9         15 U.S.C. § 1692c(a)(1) and 15 U.S.C. § 1692c(a)(3), this action also violated
                                    10         Cal. Civ. Code 1788.17.
                                    11   44.   Due to Defendant’s abusive actions, Defendant has caused Plaintiff a
                                    12         significant amount of actual damages, including harm to his professional
HYDE & SWIGART




                                    13         reputation, and mental anguish damages which have manifested in symptoms
                 Phoenix, Arizona




                                    14         including but not limited to: stress, anxiety, embarrassment, humiliation,
                                    15         sleeplessness, nervousness, depression, migraine headaches and fear of
                                    16         answering the telephone all impacting his personal and professional
                                    17         relationships.
                                    18                                          CAUSES OF ACTION
                                    19                                                 COUNT I
                                    20                     FAIR DEBT COLLECTION PRACTICES ACT (FDCPA)
                                    21                                      15 U.S.C. §§ 1692 ET SEQ.
                                    22   45.   Plaintiff repeats, re-alleges, and incorporates by reference, all other
                                    23         paragraphs.
                                    24   46.   The foregoing acts and omissions constitute numerous and multiple violations
                                    25         of the FDCPA, including but not limited to each and every one of the above-
                                    26         cited provisions of the FDCPA, 15 U.S.C. § 1692 et seq.
                                    27   47.   As a result of each and every violation of the FDCPA, Plaintiff is entitled to
                                    28         any actual damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages in

                                          ______________________________________________________________________________________________________
                                                                                         - 7 of 8 -
                                                Case 2:11-cv-00465-JAT Document 1 Filed 03/10/11 Page 8 of 8



                                     1         an amount up to $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); and,
                                     2         reasonable attorney’s fees and costs pursuant to 15 U.S.C. § 1692k(a)(3) from
                                     3         Defendant.
                                     4                                         PRAYER FOR RELIEF
                                     5   WHEREFORE, Plaintiff prays that judgment be entered against Defendant, and
                                     6   Plaintiff be awarded damages from Defendant, as follows:
                                     7         •      An award of actual damages pursuant to 15 U.S.C. § 1692k(a)(1);
                                     8         •      An award of statutory damages of $1,000.00 pursuant to 15 U.S.C. §
                                     9                1692k(a)(2)(A);
                                    10         •      An award of costs of litigation and reasonable attorney’s fees, pursuant
                                    11                to 15 U.S.C. § 1692k(a)(3).
                                    12   48.   Pursuant to the seventh amendment to the Constitution of the United States of
HYDE & SWIGART




                                    13         America, Plaintiff is entitled to, and demands, a trial by jury.
                 Phoenix, Arizona




                                    14
                                    15   Respectfully submitted,
                                                                                                  Hyde & Swigart
                                    16
                                    17
                                         Date: March 10, 2011                                    By: /s/ David J. McGlothlin
                                    18
                                                                                                 David J. McGlothlin
                                    19                                                           Attorneys for Plaintiff
                                    20
                                    21
                                    22
                                    23
                                    24
                                    25
                                    26
                                    27
                                    28

                                          ______________________________________________________________________________________________________
                                                                                         - 8 of 8 -
